Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 1 of 19

|Alvendia
| Kelly
|Demarest

A LIMITED LIABILITY CORPORATION

   
   
  
  
 

 

RODERICK “HICO” ALIVENDIA

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J. J. BART & LLY.

LALAW.COM
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908 Poydras Street | Suite 16251 New Orleans, Louisiana 70112 ARS ; LAW.COM

504-200-0000 | FAX 504-200-0001 | 1-800-462-9718

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May 31, 2019 ary eee
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CLERK. OF COURT
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Via Certified Mail: 7018 3090 0000 6623 4076
CDC Clerk of Court .

421 Loyola Avenue, Room 402

New Orleans, Louisiana 70112

ATTN: Civil Suits

 

Re: Jason Rainwater v. Pontchartrain Hotel, Inc., et al
No. 2019-5747, Div. “4-16”
File New Petition for Damages

Dear Clerk:

Please see the enclosed signed Petition for Damages on behalf of our client, Jason Rainwater. We
would like to request that this be filed in CDC for the Parish of Orleans. Please also see the
enclosed fax confirmation of filing on May 30, 2019.

Please find enclosed the original Petition, along with the check for filing and service fees. Further,
we have also included four (4) copies of the petition for service, along with service instructions,
and request that the original be returned to us in the self-addressed stamped envelope once it is
conformed.

Further, please see the enclosed Interrogatories and Requests for Production to be served upon the
below named Defendants along with the Petition for Damages in this matter:

Pontchartrain Hotel, Inc.

Through-its registered agent for service of process:
Frederick A. Kuilman

2031 St. Charles Avenue

New Orleans, LA 70140

EXHIBIT

 
Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 2 of 19

BRODERICK “HECO" AINSNDITA
J.BART RELLY ID.

JEANNE EK. DEMAREST
KURT A. OFFNER®

 

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GRISTEN MARCOTTE
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504-200-0000 | FAX 504-200-0001 | 1-800-452-9718

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sooperation in this matter.

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CRISTEN@ARDLALAVECOM

KUR’ EDLALAILCOM
909 Poydras Street | Suite 16251 New Orleans, Louisiana 70112 sapaye MED LALAW.COM

_--—_ 18, please contact my paralegal Catherine at (504) 200-0000
Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 3 of 19

_ CLERK OF CIVIL DISTRICT COURT

LAND RECORDS DIVISION
-1340 Poydras Street, 4th Floor
New Orleans, Louisiana 70112

civilclerklandrecords@orleanscdc.com
Telephone: (504) 407-0005

CIVIL DIVISION

42] Loyola Avenue, Room 402
New Orleans, Louisiana 70112

 

 

Fax: (504) 592-9128
Chelsey eichand Napoleon
Clerk of Court and Ex-Officio Recorder

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wo. VEANNE K. DEMAREST oo

FROM: CHELSEY RICHARD NAPOLEON
CLERK, CIVIL DISTRICT COURT

FACSIMILE TRANSMISSION CONFIRMATION

 

 

 

 

 

 

 

 

 

 

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caseritie: VASON RAINWATER
VERSUS

PONTCHARTRAIN HOTEL, INC etal

CASE NUMBER: © 2019-5/4/ DIVISION: A-16

 

 

PETITION FOR DAMAGES w/ INTERROGATORIES (4pg=18.00) REQUEST FOR PRODUCTION (3pg=14.00)
COMMENTS:

 

 

 

IN ACCORDANCE WITH L.S.A.R.S. 13:850, THE FOLLOWING MUST BE RECEIVED WITHIN SEVEN (7) DAYS
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08-01-16).

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2. ALL APPLICABLE FILING FEES MUST BE RECEIVED WITH THE ORIGINAL

3. AN ADDITIONAL $5.00 FACSIMILE TRANSMISSION FEE MUST BE ENCLOSED FOR EACH DOCUMENT
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Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 4 of 19

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JEANNE K. DEMAREST A LIMITED LIABILITY CORPORATION JBA NINE AKDLALAW.COM
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CRISTEN MARCOTTE 909 Poydras Street | Suite 16251 New Orleans, Louisiana 70112 can aH@axDL AL. AWCOM

SARAH E. PONTCUBERTA 504-200-0000 | FAX 504-200-0001 | 1-800-462-9718 :

“aise licensed in Texas

   

 
 
 

RODERICK “RICO” ALVENDIA
J. BART RELLY Il.

 

 

 

June 5, 2019

Via Hand Delivery:
CDC Clerk of Court

421 Loyola Avenue, Room 402
New Orleans, Louisiana 70112
ATTN: Civil Suits

 

Re: Jason Rainwater v. Pontchartrain Hotel, Inc., et al
No. 2019-5747, Div. “4-16”
File Supplemental and Amending Petition Without Leave

Dear Clerk:

Please see the enclosed signed Plaintiffs First Supplemental and Amending Petition for Damages
Without Leave on behalf of our client, Jason Rainwater. We would like to request that this be filed
in CDC for the Parish of Orleans. Please also see the enclosed fax confirmation of filing on June
4, 2019.

Please find enclosed the original Petition, along with the check for filing and service fees. Further,
we have also included five (5) copies of the petition for service, along with service instructions,
and request that the original be returned to us in the self-addressed stamped envelope once it is
conformed.

If you should have any questions, please contact my paralegal Catherine at (504) 200-0000 or
Catherine@akdlalaw.com. .

Thank you for your anticipated cooperation in this matter.

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Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 5 of 19

CLERK OF CIVIL DISTRICT COURT

CIVIL DIVISION
421 Loyola Avenue, Room 402
New Orleans, Louisiana 70112
cdeclerk@orleanscdc,com
Telephone: (504) 407-0000
Fax: ($04) 592-9128

LAND RECORDS DIVISION
1340 Poydras Street, 4th Floor
New Orleans, Louisiana 70112
civilclerklandrecords@orleanscde.com
Telephone: (504) 407-0005

 

Chelsey Richart sNepoleon
‘ Clerk of Court and Ex- Officio Recorder .

FACSIMILE TRANSMISSION F CONFIRMATION.

FROM: CHELSEY RICHARD NAPOLEON
CLERK, CIVIL DISTRICT COURT

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Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 6 of 19

 

 

 

CIVIL DISTRICT COURT FOR THE PARISH OF ORLE/

CLERKG OFFICE

 

 

 

STATE OF LOUISIANA CIVIL DISSRIOT COURT
NO.: 2019-5747 | SECTION: 16 DIVISION: “A”
JASON RAINWATER
VERSUS

PONTCHARTRAIN HOTEL, INC., APARIUM HOTEL GROUP, LLC, CODY
BERTONE, JOHN DOE, AND ABC INSURANCE COMPANY

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follows:

 

 

I.

By supplementing paragraph 1. as follows: ....

 

  

 

“Made additional defendants herein are: ipplariertal anelior

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and doing business in the State of Louisiana.”

Ii.

By amending paragraph 8. as follows:

“Upon information and belief, it is alleged that at all times material hereto, FEDERAL
INSURANCE COMPANY provided a policy of liability insurance to CODY BERTONE,
JOHN DOE, APARIUM HOTEL GROUP, LLC, and/or PONTCHARTRAIN HOTEL,
INC. that was in full force and effect on the date of this accident, which said policy provided

coverage for the type of loss sued upon herein, thus rendering said Defendant, FEDERAL

INSURANCE COMPANY liable to Petitioner along with the other named Defendants.”

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STATE OF LA.”

 
Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 7 of 19

to the body, together with legal interest thereon from date of judicial demand, until paid, and for

all costs of these proceedings, for the following to-wit:
3.

On or about July 21, 2018, at approximately 4:00 a.m., Petitioner JASON RAINWATER
was traveling on his bicycle in the traffic lane on St. Charles Avenue in the City of New Orleans,
State of Louisiana when, suddenly and without warning, Petitioner rode his bicycle into a barricade
located in the travel lane. Upon information and belief, the barricade was owned by Defendant
PONTCHARTRAIN HOTEL, INC. and/or APARIUM HOTEL GROUP, LLC and/or

CODY BERTONE. Said accident caused severe and disabling injuries to Petitioner.

Said barricade was not visible due to the dark material that covered it and did not possess

any deflectors or warning labels indicating that the barricade would be a hazard to those traveling

in or near the lane of travel.

The sole and proximate cause of the above referenced accident was the negligence and
fault of the Defendants, CODY BERTONE, JOHN DOE, PONTCHARTRAIN HOTEL, INC.,
and/or APARIUM HOTEL GROUP, LLC through their agents and employees, which is

attributed to but not limited to the following non-exclusive particulars:

a) Failure to maintain the premises in a safe condition;

b) Failure to remedy an unsafe condition;

c) Failure to instruct their employees as to the proper maintenance of the facility;

d) Failure to warn patrons of an unsafe condition;

e) Defendants knew or should have known of said hazardous condition; and

f) Any and all other acts of negligence, which may be proven at the trial of this matter.

6.

At all times material hereto, JOHN DOE was acting within the course and scope of his

employment with CODY BERTONE, PONTCHARTRAIN HOTEL, INC., and/or

APARIUM HOTEL GROUP, LLC and/or CODY BERTONE and failed to adequately

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“—<BEPUTY CLERK CIVIL DISTRICT COUR:
2 PARISH OF ORLEANS
STATE OF LA
Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 8 of 19

maintain and/or inspect the area in question and as such is liable for the action/inaction of their

agents and employees under Respondeat Superior.

As a result of the above referenced accident and negligence of the Defendants, Petitioner,
JASON RAINWATER suffered severe and disabling injuries, the damages for which need to be

determined by this Court at the trial in the following particulars:

a) Past, present, and future mental and physical pain and suffering;
b) Past, present, and future medical expenses;
c) Past, present and future mental anguish and emotional distress;
d) Permanent damage and disability;
e) Past, present, and future disfigurement and scarring;
f) Past and future loss of enjoyment of life;
g) Loss of earning capacity;
h) Past, present, and future loss of wages; and
i) Such other elements of damages which will be more fully shown at.a trial on the
merits.
8.
Upon information and belief, it is alleged that at all times material hereto, ABC —
INSURANCE COMPANY provided a policy of liability insurance to CODY BERTONE,
JOHN DOE, APARIUM HOTEL GROUP, LLC, and/or PONTCHARTRAIN HOTEL,
INC. that was in full force and effect on the date of this accident, which said policy provided

coverage for the type of loss sued upon herein, thus rendering said Defendant, ABC INSURANCE

COMPANY liable to Petitioner along with the other named Defendant.

WHEREFORE, Petitioner prays that Defendants, CODY BERTONE, JOHN DOE
PONTCHARTRAIN HOTEL, INC., APARIUM | HOTEL GROUP, LLC, AND ABC
INSURANCE COMPANY be duly cited and served with a copy of this Petition and, after all due
proceedings are had, there be a judgment in favor of Petitioner and against Defendants, jointly and
in solido in amounts as are reasonable in the premises, including past, present, and future physical
pain and suffering, past, present, and future mental pain and suffering, past, present, and future
medical expenses, past, present, and future earnings, loss of future earning capacity, permanent

disability of the body, past; present, and future loss of enjoyment off FRUESG By" and future
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Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 9 of 19

disfigurement and scarring, together with legal interest thereon from date of judicial demand, until

paid, and for all costs of these proceedings.

Petitioner further prays for all general and equitable relief.
Respectfully Submitted:

Alvendia, Kelly &&)emarest, LLC

  
  

 

BE S—
RODERIGS “RICO” ALVENDIA, 25554

J. BART KELLY III, 24488
JEANNE kK. DEMAREST, 23032
SARAH E. FONTCUBERTA, 38217
CRISTEN MARCOTTE, 34289
IKURT A. OFFNER, 28176

909 Poydras Street, Suite 1625

New Orleans, Louisiana 70112
Telephone: (504) 200-0000

Facsimile: (504) 200-0001

ATTORNEYS FOR PLAINTIFF

PLEASE SERVE:

PONTCHARTRAIN HOTEL, INC.

Through its registered agent for service of process:
Frederick A. Kullman i
2031 St. Charles Avenue

New Orleans, LA 70140

APARIUM HOTEL GROUP, LLC

Through its registered agent for service of process:
Corporation Service Company

501 Louisiana Avenue

Baton Rouge, LA 70802

CODY BERTONE
Pontchartrain Hotel

2031 St. Charles Avenue
New Orleans, LA 70130

PLEASE HOLD SERVICE:

ABC INSURANCE COMPANY i!

JOHN DOE

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DEPUTY. CLERK CML DISTRICT COUR]
PARISH OF ORLEANS
STATE OF LA
Case 2:19-cv-11765-SM-DMD Document 1-1. Filed 07/19/19 Page 10 of 19

NO.:

CIVIL DISTRICT COURT FOR THE PARISH OF ORLE

STATE OF LOUISIANA

JASON RAINWATER

VERSUS

 

 

"CLERKS OFFICE “=
CIVIL DISTRICT COURT

 

 

 

DIVISION: “ ”

PONTCHARTRAIN HOTEL, INC., APARIUM HOTEL GROUP, LLC, CODY
BERTONE, JOHN DOE, AND ABC INSURANCE CGMPANY

FILED:

TO:

 

 

DEPUTY CLERK

INTERROGATORIES

PONTCHARTRAIN HOTEL, INC.

Through its registered agent for service ia process:

Frederick A. Kullman
2031 St. Charles Avenue

~ New Orleans, LA 70140

APARIUM HOTEL GROUP, LLC

Through its registered agent for service of process:

Corporation Service Company
501 Louisiana Avenue
Baton Rouge, LA 70802

CODY BERTONE
Pontchartrain Hotel
2031 St. Charles Avenue
New Orleans, LA 70130

Pursuant to La. C.C.P. Article 1421, et seq., Plaintiff, JASON RAINWATER, propounds

the following interrogatories to defendants, PONTCHARTRAIN HOTEL, INC., APARIUM

HOTEL GROUP, LLC, and CODY BERTONE. The interrogatories are to be answered by

defendant(s) personally, under oath, that is, not by any attorney and/or counsel, and/or agent,

and/or representative, but in person, all in accordance with the laws of Louisiana and the Louisiana

Code of Civil Procedure, particularly, but not excluding, Articles 1457 and 1458, of said Code,

within thirty (30) days after receipt hereof.

These interrogatories are deemed to be continuing and shall be up-dated and supplemented

as the information requested in these interrogatories changes, or as new information develops.

INTERROGATORY NO. 1:

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Please state the full name, address and present residence addresses of all individuals who

 

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STATE OF LA

 
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Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 11 of 19

participate in the answering of the interrogatories.
INTERROGATORY NO. 2:

Give the name, social security number, last known residence address, last known telephone
number, and name and address of last known employer of each and every person having knowledge
or relevant facts and who may reasonably be called as d witness for any party, the subject matter
on which each such person is or could be reasonably expected to testify, and the substance of each
said person's testimony. This includes, but is not limited to, any surveillance and impeachment
witnesses.
INTERROGATORY NO. 3:

Do you or any representatives of yours have any photographs, motion pictures, videos,
sketches or diagrams pertaining to any fact or issue set forth in the Complaint, including any
surveillance of plaintiff? If you answer is in the affirmative, please state the number of
photographs, motion pictures, sketches and/or diagrams, a general description of their contents,
the name and address of the photographer, the date they were taken and/or created, and the name

and address of the present custodian of each.

INTERROGATORY NO. 4:

 

Have you or anyone representing you or acting on your behalf taken any statements,
whether recorded, typed, written, or oral, from any person having knowledge of facts involved in —

this suit? If so, list the names and addresses of all persons interviewed and also state by whom they

were interviewed and whether the statement was recorded, typed, written or oral. If you have a
written or recorded statement of plaintiff, please attach a copy of same to your answer to these
interrogatories. If you have any statements of any other witnesses, please advise whether you will
voluntarily furnish the same, if so, please attach copies of any and all such statements to your
answers to the interrogatories. |

INTERROGATORY NO. 5:

 

Please state whether you or anyone else, whether or not acting on your behalf, has
conducted an investigation or expertnents in connection with the accident or its causes, which
Seren the basis of this suit. If 86, state the name and address of each person who participated in
the investigation or experiment, whether the results of such investigation or experiment were

reported orally or in written form, to whom the results were reported, and the date or dates of any

  
   

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STATE OF LA
Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 12 of 19

and all written or oral reports rendered by each such investigator. .
INTERROGATORY NO. 6: |

Identify each and every expert witness with whom you have consulted, or with whom you
may consult in the future concerning any aspect of this litigation, Include in your answer to this
interrogatory, the full name and business address of each such expert, the date when each such
expert was first consulted by you or someone on your behalf, the field or fields of expertise of each
such expert anda description of each relevant opinion|reached by each such expert. Also state
whether each such expert rendered any type of report and, if so, either attach a copy of the report
or describe each fact relied on by the expert as contained in the report, and describe each opinion
expressed in each such report. If your answer to this interrogatory indicates that this inquiry is
premature, then please list each and every witness whom you currently intend to call at the trial of

this matter.

INTERROGATORY NO. 7:

 

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Was there in effect, at the time of the accident sued on, a policy of insurance which
indemnified, PONTCHARTRAIN HOTEL, INC., ATARTUM HOTEL GROUP, LLC,
and/or CODY BERTONE against financial losses as a result of liability of the general type
alleged herein and, if so, with respect to each such palidy of insurance, both primary and excess

~ insurance, please state:
a. The name and address of the insurance company

b. The policy number and effective dates thereof;

c. The nature of the coverage and the limits of liability, including coverage for one person,

and coverage for more than one person;

d. Whether you will voluntarily furnish a certified copy of the policy or policies referred to

 

in answers to this interrogatory, and, if so, piers attach same to your answers to these
interrogatories; and, if not, please state esta your reasons for not doing so.

INTERROGATORY NO. 8: |

List and identify each and every exhibit which you may seek to introduce at the trial of this

matter. If your answer to this interrogatory indicates that this inquiry is premature, then please list

each and every exhibit which you may currently intend to introduce at the trial of this matter.

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PARISH OF fr COURT

STATE OF LA
Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 13 of 19

INTERROGATORY NO. 9:

Please state with as much detail as possible how the accident happened, giving the time of
day, date and place of accident.
INTERROGATORY NO. 10:

With respect to the policy covering, PONTCHARTRAIN HOTEL, INC., APARIUM
HOTEL GROUP, LLC, andl or CODY BERTONE, please advise the date the policy was issued
and the limits of the coverage, as it applies to this incident.

INTERROGATORY NO. 11:

State whether you have in your possession any documentation which would indicate that
the injuries to JASON RAINWATER were caused prior to the accident of July 21, 2018. If so,
please identify each and every document and provide a copy of each and _— document.
INTERROGATORY NO. 12:

If you contend that JASON RAINWATER was negligent please state with particularity
how he was negligent.

INTERROGATORY NO 13:

Please describe in detail PONTCHARTRAIN HOTEL, INC., APARIUM HOTEL
GROUP, LLC, and/or CODY BERTONE policy for responding to and documenting accidents |
at PONTCHARTRAIN HOTEL.

INTERROGATORY NO. 14:

Please state the name of any employee who responded to the incident that occurred on July
21, 2018 and describe their actions regarding the incident.

INTERROGATORY NO. 15:

Please list and describe any other accident claims or alleged claims in the last five years at
the premises and the outcome(s) of same.

These interrogatories shall be deemed continuing so as to require supplemental answers if
you or your attorneys obtain further information between the time the answers are served and the

time of trial.

Respectfully Submitted:

Alvendia, Kelly & Demarest, LLC
PS
/ Z

RODERICK “RICO” ALVENDIA, 25554
J. BART KELLY IIL, 24488

 

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Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 14 of 19

     
 

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CML DISTRICT COUR;
PARISH OF ORLEwys “CO!

STATE OF La

  

JEANNE K. DEMAREST, 23032
KURT A. OFFNER, 28176
CRISTEN MARCOTTE, 34288
SARAH E. FONTCUBERTA, 38217
909 Poydras Street, Suite 1625

New Orleans, Louisiana 70112
Telephone: (504) 200-0000

Facsimile: (504) 200-0001

ATTORNEYS FOR PLAINTIFF
Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 15 of 19

 

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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS [MA vn iw

 

 

 

 

 

 

 

 

STATE OF LOUISIANA “CLERKS OFFICE
© CIVIL DISTRICT COURT
NO.: DIVISION: “ ”
JASON RAINWATER

VERSUS

PONTCHARTRAIN HOTEL, INC., APARIUM HOTEL GROUP, LLC, CODY
BERTONE, JOHN DOE, AND ABC INSURANCE COMPANY

FILED:

 

 

DEPUTY CLERK

REQUEST FOR PRODUCTION OF DOCUMENTS
TO: PONTCHARTRAIN HOTEL, INC.

Through its registered agent for service of process:

Frederick A. Kullman

2031 St. Charles Avenue

New Orleans, LA 70140

APARIUM HOTEL GROUP, LLC

Through its registered agent for service of process:

Corporation Service Company

501 Louisiana Avenue

Baton Rouge, L.A 70802

CODY BERTONE

Pontchartrain Hotel

2031 St. Charles Avenue

New Orleans, LA 70130

PLEASE TAKE NOTICE that petitioner requests defendants named above to produce

the following documents and things for inspection and copying pursuant to the applicable
provisions of the Louisiana Code of Civil Procedure at the Law Offices of Alvendia, Kelly &
Demarest, LLC, 909 Poydras Street, Suite #1625, New Orleans, Louisiana 70112: within thirty
(30) days of date of service of this request.

1) Any and all incident or other reports pertaining to the incident sued on herein.

2) Certified copy of each and every policy of insurance, certificate of insurance, or
other insurance documentation, including medical payments coverage and
uninsured or underinsured coverage, setting forth each type of insurance which
affords coverage for liability of the nature asserted herein by petitioners against
defendants, including all primary coverage and all excess or umbrella coverage.

, ~A TRUE Copy Any and all statements of the plaintiff which were taken by the above named

defendant in connection with this incident.

 

A Jere, Mgt
DEPUTY. CLERK GIVIL DISTRICT COURI 6

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STATE OF LA

 
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Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 16 of 19

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Any and all statements obtained from anyone concerning the incident referred to in
the petition.

Any and all exhibits which defendant intends to introduce at the trial.

Any and all photographs, video or other images, whether in electronic or other
format in any way pertaining to the area of the incident or the incident itself referred
to in the petition.

Any and all photographs, slides, motion pictures, etc., including any possible
surveillance, photographs or motion pictures of plaintiff taken at any time, which
may be relevant to any issue in these proceedings.

Any and all reports or correspondence or information provided to or from any
person who may be used as an expert witness herein.

Any policy manuals or procedure for employees’ response to accidents at
PONTCHARTRAIN HOTEL, INC.

Any and all documents referred to in the response to the interrogatories propounded |
to the defendants in these proceedings, delineating which interrogatory each
document is responsive to.

Any maintenance logs showing employee activity in the area of the incident within
the twenty-four (24) hours prior and subsequent to the incident.

Any records of any other accidents in that store within the last five years.

Any and all other pieces of documents and demonstrative evidence which you
might seek to use as an exhibit at trial herein. This request includes but is not
limited to, any and all photographs, videos or Pages,

Any and all tapes and/or electronic recordings of any oral communication
whatsoever concerning any matter at issue in the complaint.

Produce all documents supporting any defense asserted in your answer to the

complaint.

This Request for Production of Documents and Things is deemed to be continuing and to

require a continuous supplementation of answers thereto, as more information

becomes available.

  

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PARISH OF ORLEANS
STATE OF LA

Respectfully Submitted:

Alvendia, ere Demarest, LLC

RODERI tok aD, ALVENDIA, 25554
J. DERI? KELLY III, 24488

JEANNE Kk. DEMAREST, 23032

ISURT A. OFFNER, 28176

CRISTEN MARCOTTE, 34288

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909 Poydras Street, Suite 1625 .

New Orleans, Louisiana 70112

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Facsimile: (504) 200-0001

 

ATTORNEYS FOR PLAINTIFF
Case 2:19-cv-11765-SM-DMD Document 1-1 Filed 07/19/19 Page 18 of 19

 

 

CIVIL DISTRICT COURT FOR THE PARISH OF ORLEA

 

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STATE OF LOUISIANA CIVIL. DISTRICT COURT

 

 

 

| no.:\4 57H 1 DIVISION: « ”

JASON RAINWATER

VERSUS

 

PONTCHARTRAIN HOTEL, INC., APARIUM HOTEL GROUP, LLC, coS ECT TION 16
BERTONE, JOHN DOE, AND ABC INSURANCE COMPANY

FILED:

 

 

DEPUTY CLERK

PETITION FOR DAMAGES

NOW INTO COURT, through undersigned counsel, comes Petitioner, JASON

  
   

RAINWATER, a person of the age of majority who niciled 3 n the Parish of Orleans; State ae
of Louisiana, who respectfully presents claims for personal injuries as follows:

1.
Made defendants hereiz. are the following:

A. PONTCHARTRAIN HOTEL, INC., a domestic lca corporation ae, to do

and doing business in the State of Louisiana;

 

B. APARIUM HOTEL GROUP, LLC, a fore’ eign a limited Uiablgr company anfhorized to do

and doing business in this Parish and State; 2+:

   

C. CODY BERTONE, a person of the full age of m jority and believed to be a resident of

 

 

this Parish and state;

D. JOHN DOE, upon information and belief, a: ‘pers son. of the full age of maj ajority and believed

 

to be a resident of this Parish and state; and .
E. ABC INSURANCE COMPANY, upon “ees and belief a foreign insurance
company authorized to do and doing business in the State of Louisiana...
2. |
Defendants are liable jointly, severally, and in solido, unto Petitioner for such damages as
are reasonable in the premises, including past, Peet pia pain ins oterng anak . :
present, and future loss of earnings, future loss of earning capacity, past, present, and future loss

of enjoyment of life, past, present, and future disfigurement and scarring, and permanent disability
2 a's os .

   

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STATE OF 1 :

 
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| WHEREFORE, Petitioner ee that Defendants, CODY BERTONE, JOHN DOE
PONTCHARTRAIN HOTEL, INC., APARIUM HOTEL GROUP, LLC, AND FEDERAL
INSURANCE COMPANY be duly cited and served with a copy of this First Supplemental and
Amending Petition and, after all due proceedings are had, there be a judgment in favor of Petitioner
and against Defendants, jointly and in solido in amounts as are reasonable in the premises,
including past, present, and future physical pain and suffering, past, present, and future mental
pain and suffering, past, present, and future medical expenses, past, present, and future earnings,
loss of future earning capacity, permanent disability of the body, past, present, and future loss of
enjoyment of life, past, present, and future disfigurement and scarring, together with legal interest

thereon from date of judicial demand, until paid, and for all costs of these proceedings.

Petitioner further prays for all general and equitable relief.

Respectfully Submitted:

Alvendia, Kelly & Demarest, LLC

 

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RODE RICO” ALVENDIA, 25554
J. BART KELLY III, 24488
JEANNE K. DEMAREST, 23032
SARAH E. FONTCUBERTA, 38217
CRISTEN MARCOTTE, 34289
KURT A. OFFNER, 28176

909 Poydras Street, Suite 1625

New Orleans, Louisiana 70112
Telephone:(504) 200-0000

Facsimile: (504) 200-0001
ATTORNEYS FOR PLAINTIFF

PLEASE SERVE:

PONTCHARTRAIN HOTEL, INC.

Through its registered agent for service of process:
Frederick A. Kullman

2031 St. Charles Avenue

New Orleans, LA 70140

APARIUM HOTEL GROUP, LLC

Through its registered agent for service of process:
Corporation Service Company

501 Louisiana Avenue

Baton Rouge, LA 70802

CODY BERTONE
Pontchartrain Hotel
2031 St. Charles Avenue
New Orleans, LA 70130

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STATE OF LA
